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 1                                                                  The Honorable Marsha J. Pechman

 2

 3

 4

 5

 6

 7                                 UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
     JOHNANAS JOHNSON and JENNIFER
 9   JOHNSON, husband and wife,                             No. 3:20-cv-05581-MJP

10                                  Plaintiffs,             PRETRIAL ORDER

11        v.

12   UNITED STATES OF AMERICA,

13                                  Defendant.

14

15
                                            I.     JURISDICTION
16             Jurisdiction in this matter is premised upon the Federal Tort Claims Act, 28 U.S.C. §

17   1346(b) and 2679(b)(1). The United States has waived sovereign immunity for the negligent or

18   wrongful acts or omissions of any federal employee acting within the scope of employment, under

19   circumstances where the United States, if a private person, would be liable to the plaintiff in

20   accordance with the law of the place where the act or omission occurred. 28 U.S.C. § 1346(b).

21   The parties agree that Washington state law substantively governs the claims to be adjudicated at

22   trial in this matter.

23             Venue is proper under 28 U.S.C. § 1402(b).

24
     PRETRIAL ORDER - 1
     3:20-CV-5581-MJP
                                                                                             413 - 8th Street
                                                                                             Hoquiam, WA 98550
                                                  STRITMATTER KESSLER KOEHLER MOORE          Tel: 360-533-2710
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 1                                    II.          CLAIMS AND DEFENSES
            Plaintiffs will pursue at trial the following claims: (1) monetary damages for personal
 2
     injuries to Plaintiff John Johnson, including economic damages (past medical expenses, wage loss,
 3
     and property loss) and noneconomic damages (past and future pain and suffering; past and future
 4
     disability; past and future disfigurement; and past and future loss of enjoyment of life), arising out
 5
     of the November 10, 2018 motor vehicle collision; and (2) monetary damages for loss of
 6
     consortium damages to Plaintiff Jennifer Johnson, wife of Plaintiff John Johnson.
 7
            The Defendant will pursue the following affirmative defenses and/or claims: (1) Any
 8
     injuries or damages to the Plaintiffs were not proximately caused by a negligent or wrongful act
 9
     or omission of any agent, employee or representative of the United States; (2) Plaintiffs failed to
10
     mitigate, obviate, diminish or otherwise act to lessen or reduce the injuries, damages and
11
     disabilities alleged; (3) Plaintiffs’ injuries and damages, if any, were caused by other preexisting
12
     or unrelated sicknesses, injuries, or other medical conditions.
13
                                            III.     ADMITTED FACTS
14
            The following facts are admitted by the parties:
15
            1. Plaintiffs John and Jennifer Johnson are husband and wife and residents of Washington.
16
            2. The United States of America is the Defendant, and the Postal Service worker involved
17
                in the collision, Michael Murray, was acting as an employee of the United States within
18
                the scope of his employment.
19
            3. Plaintiffs have satisfied the administrative exhaustion requirements under the FTCA,
20
                28 U.S.C. § 2401.
21

22

23

24
     PRETRIAL ORDER - 2
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                                                                                                 413 - 8th Street
                                                                                                 Hoquiam, WA 98550
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 1              4. A collision occurred on Boone Street in Aberdeen, Washington on November 10, 2018
                                                                                                   1
 2                  at approximately 11:00 a.m., involving a Postal Service LLV driven by Michael

 3                  Murray and a 2016 Kawasaki motorcycle driven by John Johnson.

 4              5. Boone Street at this location has two southbound lanes, two northbound lanes, and a

 5                  center turn lane.

 6              6. The speed limit on Boone Street at this location is 35 mph.

 7              7. Mr. Murray was attempting to turn left onto Boone Street (intending to head south on

 8                  Boone Street) from a driveway/parking lot at the Thai Carrot restaurant when he

 9                  collided with Mr. Johnson’s motorcycle.

10              8. The collision and a portion of the events leading up to the collision were captured on a

11                  security camera at a 7-Eleven store.

12              9. Mr. Johnson had turned left from MacFarlane Street onto Boone Street, after getting

13                  gas at a 7-Eleven store when his motorcycle collided with the postal truck.

14              10. The right front of the Johnson motorcycle collided with the right front of the LLV.

15              11. The Aberdeen Police Department responded to the collision and photographed the

16                  scene.

17              12. The motorcycle slid on its left side on the asphalt roadway after the collision, resulting

18                  in scraping damage to the left side of the motorcycle.

19              13. Mr. Johnson was transported from the scene by ambulance to Grays Harbor

20                  Community Hospital in Aberdeen.

21

22

23
     1   “LLV” stands for “Long Life Vehicle” and refers to the type of Postal Service vehicle involved in the collision.
24
     PRETRIAL ORDER - 3
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 1         14. Mr. Johnson had a partial amputation of approximately 1.9 cm of the tip of his right

 2            middle finger and an approximately 2.0 cm laceration to the tip of his right index finger

 3            with nailbed involvement.

 4         15. Mr. Johnson also alleged injuries to his right knee and his tailbone/coccyx.

 5         16. After being treated in the Emergency Room on the day of the collision, Mr. Johnson

 6            returned to the Emergency Room for further treatment for the fingers on his right hand

 7            on November 13, 2018 and November 16, 2018.

 8         17. On November 16, 2018, Mr. Johnson had a surgical procedure performed by orthopedic

 9            surgeon Erin Kawasaki, M.D.

10         18. Mr. Johnson had follow-up orthopedic care for his right index and middle fingers from

11            Dr. Kawasaki and Greg May, M.D.

12         19. Mr. Johnson had occupational therapy for his right index and middle fingers from Jarod

13            Mann, O.T.R., C.H.T., of Coastal Hand Therapy.

14         20. Mr. Johnson had physical therapy for his wrists and right knee from Harbor Physical

15            Therapy.

16         21. Mr. Johnson also saw physicians at Olympia Orthopedic Associates for his right knee.

17         22. Mr. Johnson’s medical bills are: $38,073.92. The reasonableness and necessity of the

18            medical bills are not disputed.

19         23. Mr. Johnson was working two part-time jobs at the time of the collision. In the

20            mornings, he worked in the cafeteria at Hoquiam Middle School. In the afternoons, he

21            worked at a construction job in Ocean Shores, Washington for Total Building

22            Concepts.

23

24
     PRETRIAL ORDER - 4
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 1          24. Mr. Johnson returned to working at the Hoquiam Middle School cafeteria on February

 2              12, 2019.

 3          25. The Postal Service issued a letter of warning to Mr. Murray after the collision.

 4                                           IV.    ISSUES OF LAW
            The following are the issues of law to be determined by the Court:
 5
            1. Has Plaintiff proved by a preponderance of the evidence that the Postal Service driver
 6
                breached his duty to exercise reasonable care to Plaintiff John Johnson and was
 7
                therefore negligent?
 8
            2. If Defendant was negligent, what injuries to Plaintiff John Johnson has Plaintiff proved
 9
                were proximately caused by that negligence, by a preponderance of the evidence?
10
            3. What, if any, is the amount of Plaintiff John Johnson’s economic damages for:
11
                    a. Past medical expenses
12
                    b. Wage loss
13
                    c. Property damage (total loss of motorcycle)
14
            4. What, if any, is the amount of Plaintiff John Johnson’s noneconomic damages for:
15
                    a. Past and future physical pain and mental suffering
16
                    b. Past and future disability
17
                    c. Past and future disfigurement
18
                    d. Past and future loss of enjoyment of life
19
            5. What, if any, is the amount of Plaintiff Jennifer Johnson’s damages for loss of
20
                consortium?
21
                                        V.         EXPERT WITNESSES
22
            The names and addresses of the expert witnesses to be used by each party at the trial and
23
     the issue upon which each will testify is:
24
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 1
            (1) On behalf of plaintiff:
 2
                Mark Erickson, P.E.
 3              Erickson Forensic
                1800 Blankenship Rd, Suite 355
 4              West Linn, OR 97068
                (503) 201-9213
 5              mark@ericksonforensic.com

 6          Mr. Erickson is a mechanical engineer specializing in accident reconstruction. He will

 7   testify regarding his collision reconstruction analysis.

 8          (2) On behalf of the United States:

 9              James W. Pritchett, M.D.
                901 Boren Avenue, #711
10              Seattle, WA 98104
                (206)-323-1900
11          Dr. Pritchett is an orthopedic surgeon. He will testify regarding his opinions about Mr.
12   Johnson’s knee injury.
13               Rajiv Goel, M.D.
                 Sound Hand & Orthopedics
14               4616 25th Avenue N.E., #739
                 Seattle, WA 98105
15               (206)-257-3350
                Dr. Goel is an orthopedic surgeon. He will testify regarding his opinions about Mr.
16
     Johnson’s hand injury.
17
                                          VI.     OTHER WITNESSES
18
        The names and addresses of witnesses, other than experts, to be used by each party at the
19
     time of trial and the general nature of the testimony of each are:
20

21      (a) On behalf of Plaintiffs:

            Eyewitnesses:
22
            Johnanas “John” Johnson
23
            c/o Stritmatter Kessler Koehler Moore
24
     PRETRIAL ORDER - 6
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 1         413 8th Street
           Hoquiam, WA 98550
 2         360-533-2710
           johnanasjohnson@yahoo.com
 3
           Mr. Johnson will testify to the facts of the collision and damages issues.
 4
           Frederick Doe
 5         1913 Coolidge Road, # 17
           Aberdeen, WA 98520
 6         360-660-4091
           fadoe8184@gmail.com
 7
           Mr. Doe was an eyewitness to the collision and will testify regarding his observations.
 8
           Michael Murray
 9         c/o Matt Waldrop
           Assistant United States Attorney
10         United States Attorney’s Office
           700 Stewart Street, Suite 5220
11         Seattle, WA 98101

12         Mr. Murray was the driver of the Postal Service LLV and will testify regarding liability
           issues.
13
           Treating Medical Providers:
14
           Greg May, M.D. – Will Testify
15         Harbor Orthopedic
           1211 Skyview Drive
16         Aberdeen, WA 98520
           360-532-3808
17         Assistant: Tonya Tisdale -- totisdale@hmgcares.org

18         Dr. May is an orthopedic surgeon who treated Mr. Johnson. Dr. May will testify regarding
           the treatment that he provided to Mr. Johnson, as well as treatment provided by his former
19         partner, Erin Kawasaki, D.O., who moved out of town to a different practice, the cause of
           Mr. Johnson’s injuries, the nature and extent of his injuries, and his evaluation and
20         prognosis with regard to the injuries Dr. May treated.

21         Jarod Mann, O.T.R, C.H.T. – Will Testify
           Coastal Hand & Physical Therapy
22         303 South F Street
           Aberdeen, WA
23         360-970-7894
           jarodmann@hotmail.com
24
     PRETRIAL ORDER - 7
     3:20-CV-5581-MJP
                                                                                            413 - 8th Street
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 1
           Jarod Mann is an occupational therapist whose practice focuses on treatment of hand
 2         injuries. Mr. Mann will testify about the treatment that he provided to Mr. Johnson, the
           limitations that Mr. Johnson has with regard to range of motion and strength due to the
 3         injuries to the right index and middle fingers, and how those limitations affect activities
           with regard to use of his right hand.
 4
           Damages Witnesses – Friends and Family:
 5
           Jennifer Johnson – Will Testify
 6         c/o Stritmatter Kessler Koehler Moore
           413 8th Street
 7         Hoquiam, WA 98550
           360-533-2710
 8         johnanasjohnson@yahoo.com

 9         Jennifer Johnson is the spouse of John Johnson and will testify about damages issues.

10         David Jorgensen – Will Testify
           2836 26th Ave NE
11         Olympia WA 98506
           253-632-7031
12         david.jorgensen@comcast.net

13         David Jorgensen is a friend of John Johnson and will testify about damages issues.

14         Mickey “Dan” Daniel Lane – Will Testify
           519 J St
15         Hoquiam, WA 98550
           360-593-0352
16         mickeylane77@gmail.com

17         Dan Lane is John Johnson’s father-in-law and will testify about damages issues.

18         Tami Lane – Will Testify
           519 J St
19         Hoquiam, WA 98550
           360-593-0350
20         tamilane62@gmail.com

21         Tami Lane is John Johnson’s mother-in-law and will testify about damages issues.

22         Mary Brittinen – Will Testify
           2433 Sumner Ave
23         Hoquiam, WA 98550
           360-500-9473
24
     PRETRIAL ORDER - 8
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                                                                                             413 - 8th Street
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 1          marybrittinen@comcast.net

 2          Mary Brittinen is John Johnson’s mother and will testify about damages issues.

 3          Justin Graham – Will Testify
            431 Eklund Ave.
 4          Hoquiam, WA 98550
            360-581-0122
 5          grahamfj40@gmail.com

 6          Justin Graham is a friend of John Johnson and will testify about damages issues.

 7      (b) On behalf of the United States:

 8             Records Custodian for Hoquiam School District, No. 28 – May Testify
               325 West Chesnault Avenue
 9             Hoquiam, WA 98550

10
            The United States may call a records custodian to discuss Mr. Johnson’s payroll and
11
     employment records for the Hoquiam School District.
12

13             Records Custodian for Total Building Concepts, Inc. – May Testify
               P.O. Box 1956
14             Ocean Shores, WA 98569

15          The United States may call a records custodian to discuss Mr. Johnson’s payroll and

16   employment records for Total Building Concepts.

17             Mary Christensen – May Testify

18             c/o Matt Waldrop
               Assistant United States Attorney
19             United States Attorney’s Office
               700 Stewart Street, Suite 5220
20             Seattle, WA 98101

21
               Ms. Christensen is a USPS employee and may testify regarding forms she completed
22
     on behalf of the USPS.
23

24
     PRETRIAL ORDER - 9
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                                                                                               413 - 8th Street
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 1
                                            VII.      EXHIBITS
 2

 3   Plaintiff’s Exhibits
 4
      Exh. No. Description           Authenticity      Admissibility Objection        Admitted
 5
                 Drone image of      Stipulated        Stipulated
 6               7-Eleven and
          1      Boone St
 7               Drone image of      Stipulated        Stipulated
          2      7-Eleven
 8               Drone image of      Stipulated        Stipulated
                 intersection View
 9        3      1
                 Drone image of      Stipulated        Stipulated
10               intersection View
          4      2
11               Drone image of      Stipulated        Stipulated
                 intersection View
12        5      3
                 Drone image of      Stipulated        Stipulated
13               intersection View
          6      4
14               Drone image of      Stipulated        Stipulated
                 intersection View
15        7      5
                 Drone image of      Stipulated        Stipulated
16               intersection View
          8      6
17               Drone image of      Stipulated        Stipulated
                 intersection View
18        9      7
                 Drone image of      Stipulated        Stipulated
19               intersection View
         10      8
20               7-Eleven security   Stipulated        Disputed       Fed. R. Evid.
         11      camera photo                                         611(a)
21               7-Eleven security   Stipulated        Disputed       Fed. R. Evid.
                 camera Image 1                                       611(a);
22       12      with Labels                                          foundation
                 7-Eleven security   Stipulated        Disputed       Fed. R. Evid.
23               camera Image 3                                       611(a);
         13      with Labels                                          foundation
24
     PRETRIAL ORDER - 10
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                                                                                          413 - 8th Street
                                                                                          Hoquiam, WA 98550
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 1    Exh. No. Description           Authenticity      Admissibility Objection        Admitted

 2               7-Eleven security   Stipulated        Stipulated
                 camera images in
 3       14      sequence
                 Drone image of      Stipulated        Stipulated
 4               7-Eleven camera
         15      location 1
 5               Drone image of      Stipulated        Stipulated
                 7-Eleven camera
 6       16      location 2
                 Drone image of      Stipulated        Stipulated
 7               7-Eleven camera
         17      location 3
 8               Drone image of      Stipulated        Stipulated
                 7-Eleven camera
 9       18      location 4
                 7-Eleven video      Stipulated        Stipulated
10       19      Image 1
                 7-Eleven video      Stipulated        Stipulated
11       20      Image 2
                 7-Eleven video      Disputed          Disputed       Fed. R. Evid.
12               Image 3                                              611(a);
         21                                                           foundation
13               7-Eleven video      Stipulated        Stipulated
         22      Image 4
14               Drone image of      Stipulated        Stipulated
                 Boone Street
15       23      overhead 1
                 Drone image of      Stipulated        Stipulated
16               Boone Street
         24      overhead 2
17
                 Drone image of      Stipulated        Stipulated
                 Boone Street
18
         25      overhead 3
                 Drone image of      Stipulated        Stipulated
19
                 Boone Street
         26      overhead 4
20
                 Drone image of      Stipulated        Stipulated
                 Boone Street
21
         27      overhead 5
22               Drone image         Stipulated        Stipulated
                 looking north on
23       28      Boone

24
     PRETRIAL ORDER - 11
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                                                                                          413 - 8th Street
                                                                                          Hoquiam, WA 98550
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 1    Exh. No. Description          Authenticity      Admissibility Objection        Admitted

 2               Drone image        Stipulated        Stipulated
         29      looking west 1
 3               Drone image        Stipulated        Stipulated
         30      looking west 2
 4               Drone image        Stipulated        Stipulated
         31      looking west 3
 5               Drone image        Stipulated        Stipulated
                 looking south on
 6       32      Boone
                 Drone image of     Stipulated        Stipulated
 7               MacFarlane
         33      overview
 8               Drone image of     Stipulated        Stipulated
                 MacFarlane
 9       34      overview
                 Drone image of     Stipulated        Disputed       Relevance
10               mail truck
         35      exemplar
11               Photo of gas       Stipulated        Stipulated
                 pumps at 7-
12       36      Eleven
                 Photo of Boone     Stipulated        Stipulated
13       37      Street view 1
                 Photo of Boone     Stipulated        Stipulated
14       38      Street view 2
                 View from Thai     Stipulated        Stipulated
15       39      Carrot 1
                 View from Thai     Stipulated        Stipulated
16
         40      Carrot 2
                 View from Thai     Stipulated        Stipulated
17
         41      Carrot 3
                 View from Thai     Stipulated        Stipulated
18
         42      Carrot 4
19               View from Thai     Stipulated        Stipulated
         43      Carrot 5
20               View from Thai     Stipulated        Stipulated
         44      Carrot 6
21               Laser scan         Stipulated        Disputed       Relevance
         45      location 1
22               Laser scan         Stipulated        Disputed       Relevance
         46      location 2
23               Laser scan         Stipulated        Disputed       Relevance
         47      location 3
24
     PRETRIAL ORDER - 12
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                                                                                         413 - 8th Street
                                                                                         Hoquiam, WA 98550
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 1    Exh. No. Description            Authenticity      Admissibility Objection        Admitted

 2               Laser scan           Stipulated        Disputed       Relevance
         48      location 4
 3               Laser scan           Stipulated        Disputed       Relevance
         49      location 5
 4               Laser scan           Stipulated        Disputed       Relevance
         50      location 6
 5               Laser scan           Stipulated        Disputed       Relevance
         51      location 7
 6               Laser scan           Stipulated        Disputed       Relevance
         52      location 8
 7               Laser scan           Stipulated        Disputed       Relevance
         53      location 9
 8               Photo of Thai        Stipulated        Stipulated
         54      Carrot
 9               Photo of Thai        Stipulated        Stipulated
         55      Carrot mailboxes
10               Photo of Thai        Stipulated        Stipulated
                 Carrot driveway
11       56      and Boone
                 Photo looking        Stipulated        Stipulated
12               east toward Thai
         57      Carrot
13               Photo of Thai        Stipulated        Stipulated
         58      Carrot Driveway
14
                 Photo looking        Stipulated        Stipulated
                 east from 7-
15
         59      Eleven
                 Photo of damage      Disputed          Disputed       Fed. R. Evid.
16
                 to postal truck --                                    611(a);
                 labeled                                               foundation;
17
         60                                                            relevancy
                 Erickson             Disputed          Disputed       Fed. R. Evid.
18
                 illustration 1 --                                     611(a),
                 large                                                 Foundation,
19
                                                                       relevance,
         61                                                            authenticity
20
                 Erickson             Disputed          Disputed       Fed. R. Evid.
21               illustration 1 –                                      611(a),
                 side by side                                          Foundation,
22                                                                     relevance,
         62                                                            authenticity
23

24
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 1    Exh. No. Description           Authenticity    Admissibility Objection        Admitted

 2               Erickson            Disputed        Disputed       Fed. R. Evid.
                 illustration 2 --                                  611(a),
 3               large                                              Foundation,
                                                                    relevance,
 4       63                                                         authenticity
                 Erickson            Disputed        Disputed       Fed. R. Evid.
 5               illustration 2 –                                   611(a),
                 side by side                                       Foundation,
 6                                                                  relevance,
         64                                                         authenticity
 7               Erickson            Disputed        Disputed       Fed. R. Evid.
                 illustration 2 –                                   611(a),
 8               with labels                                        Foundation,
                                                                    relevance,
 9       65                                                         authenticity
                 Erickson            Disputed        Disputed       Fed. R. Evid.
10               illustration 3 –                                   611(a),
                 large                                              Foundation,
11                                                                  relevance,
         66                                                         authenticity
12               Erickson            Disputed        Disputed       Fed. R. Evid.
                 illustration 3 –                                   611(a),
13               side by side                                       Foundation,
                                                                    relevance,
14       67                                                         authenticity
                 Erickson            Disputed        Disputed       Fed. R. Evid.
15               illustration 3 –                                   611(a),
                 with labels                                        Foundation,
16                                                                  relevance,
         68                                                         authenticity
17               Erickson            Disputed        Disputed       Fed. R. Evid.
                 illustration 4 –                                   611(a),
18               side by side                                       Foundation,
                                                                    relevance,
19       69                                                         authenticity
                 Finger joints       Disputed        Disputed       Fed. R. Evid.
20               illustration 1                                     611(a),
                                                                    Foundation,
21                                                                  relevance,
         70                                                         authenticity
22               Finger joints       Disputed        Disputed       Fed. R. Evid.
                 illustration 2                                     611(a),
23       71                                                         Foundation,
24
     PRETRIAL ORDER - 14
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 1    Exh. No. Description           Authenticity      Admissibility Objection        Admitted

 2                                                                    relevance,
                                                                      authenticity
 3               Finger joints       Disputed          Disputed       Fed. R. Evid.
                 illustration 3                                       611(a),
 4                                                                    Foundation,
                                                                      relevance,
 5       72                                                           authenticity
                 Google Earth        Stipulated        Stipulated
 6               overhead view of
         73      the intersection
 7               Identification of   Disputed          Disputed       Fed. R. Evid.
                 scene evidence 1                                     611(a),
 8                                                                    Foundation,
                                                                      relevance,
 9       74                                                           authenticity
                 Identification of   Disputed          Disputed       Fed. R. Evid.
10               scene evidence 2                                     611(a),
                                                                      Foundation,
11                                                                    relevance,
         75                                                           authenticity
12               Photo of            Stipulated        Stipulated
                 Kawasaki – right
13       76      front 1
                 Photo of            Stipulated        Stipulated
14               Kawasaki – right
         77      side 1
15               Photo of            Stipulated        Stipulated
                 Kawasaki – right
16       78      front 2
                 Photo of            Stipulated        Stipulated
17               Kawasaki –front
         79      tire
18               Photo of            Stipulated        Stipulated
                 Kawasaki –
19       80      handlebar 1
                 Photo of            Stipulated        Stipulated
20               Kawasaki –
         81      handlebar 2
21
                 Photo of            Stipulated        Stipulated
                 Kawasaki –
22
         82      handlebar 3
23

24
     PRETRIAL ORDER - 15
     3:20-CV-5581-MJP
                                                                                          413 - 8th Street
                                                                                          Hoquiam, WA 98550
                                                  STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
              Case 3:20-cv-05581-MJP Document 42 Filed 12/01/21 Page 16 of 34




 1    Exh. No. Description             Authenticity      Admissibility Objection        Admitted

 2               Photo of              Stipulated        Stipulated
                 Kawasaki – right
 3       83      front 3
                 Photo of              Stipulated        Stipulated
 4               Kawasaki – front
                 tire and right turn
 5       84      lights 1
                 Photo of              Stipulated        Stipulated
 6               Kawasaki – right
         85      front turn light
 7               Photo of              Stipulated        Stipulated
                 Kawasaki – right
 8       86      front 4
                 Photo of              Stipulated        Stipulated
 9               Kawasaki – front
                 tire and right turn
10       87      light 2
                 Photo of              Stipulated        Stipulated
11               Kawasaki –
         88      broken pieces 1
12               Photo of              Stipulated        Stipulated
                 Kawasaki –
13       89      broken pieces 2
                 Photo of              Stipulated        Stipulated
14               Kawasaki – left
         90      front
15               Photo of              Stipulated        Stipulated
                 Kawasaki – left
16       91      rear scrape
                 Photo of              Stipulated        Stipulated
17       92      Kawasaki – light
                 Photo of              Stipulated        Stipulated
18               Kawasaki – turn
         93      bulb 1
19
                 Photo of              Stipulated        Stipulated
                 Kawasaki – turn
20
         94      bulb 2
                 Photo of              Stipulated        Stipulated
21
                 Kawasaki – turn
         95      bulb 3
22
                 Photo of              Stipulated        Stipulated
                 Kawasaki – turn
23
         96      bulb 4
24
     PRETRIAL ORDER - 16
     3:20-CV-5581-MJP
                                                                                            413 - 8th Street
                                                                                            Hoquiam, WA 98550
                                                    STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
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 1    Exh. No. Description          Authenticity      Admissibility Objection        Admitted

 2               Photo of           Stipulated        Stipulated
                 Kawasaki – turn
 3       97      bulb 5
                 Photo of           Stipulated        Stipulated
 4               Kawasaki – turn
         98      bulb 6
 5               Photo of           Stipulated        Stipulated
                 Kawasaki – turn
 6       99      bulb 7
                 Photo of           Stipulated        Stipulated
 7               Kawasaki – turn
        100      bulb 8
 8               Photo of           Stipulated        Stipulated
                 Kawasaki – turn
 9      101      bulb 9
                 Photo of           Stipulated        Stipulated
10               Kawasaki – turn
        102      bulb 10
11               Photo of           Stipulated        Stipulated
                 Kawasaki – head
12      103      light 1
                 Photo of           Stipulated        Stipulated
13               Kawasaki – head
        104      light 2
14               Photo of           Stipulated        Stipulated
                 Kawasaki – turn
15      105      bulb 11
                 Photo of           Stipulated        Stipulated
16               Kawasaki – turn
        106      bulb 12
17               Photo of           Stipulated        Stipulated
                 Kawasaki – turn
18      107      bulb 13
                 Photo of           Stipulated        Stipulated
19
                 Kawasaki – right
        108      rear lights
20
                 Photo of           Stipulated        Stipulated
                 Kawasaki – turn
21
        109      light 14
                 Photo of           Stipulated        Stipulated
22
                 Kawasaki – turn
        110      light 15
23

24
     PRETRIAL ORDER - 17
     3:20-CV-5581-MJP
                                                                                         413 - 8th Street
                                                                                         Hoquiam, WA 98550
                                                 STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
              Case 3:20-cv-05581-MJP Document 42 Filed 12/01/21 Page 18 of 34




 1    Exh. No. Description           Authenticity      Admissibility Objection        Admitted

 2               Photo of            Stipulated        Stipulated
                 Kawasaki – left
 3      111      rear lights
                 Photo of            Stipulated        Stipulated
 4               Kawasaki – left
        112      rear lights
 5               Photo of            Stipulated        Stipulated
                 Kawasaki – turn
 6      113      bulb 16
                 Photo of            Stipulated        Stipulated
 7               Kawasaki – right
        114      side 2
 8               Laser scan image    Disputed          Disputed       Fed. R. Evid.
                 of scene                                             611(a),
 9      115                                                           Relevance
                 Letter of warning   Stipulated        Stipulated     Subject    to
10               to Michael                                           Protective
        116      Murray                                               Order
11               Life expectancy     Stipulated        Stipulated
        117      table
12               Medical record –    Stipulated        Stipulated
                 Dr. Kawasaki
13               consultation
        118      11/16/18
14               Medical record –    Stipulated        Stipulated
                 Grays Harbor
15               Community
                 Hospital – ER
16      119      11/10/18
                 Medical record –    Stipulated        Stipulated
17               Harbor
                 Orthopedic
18      120      9/8/21
                 Medical record –    Stipulated        Stipulated
19               Harbor
                 Orthopedic
20      121      1/16/19 visit
                 Medical record –    Stipulated        Stipulated
21
                 Harbor
                 Orthopedic
22
        122      4/16/19 visit
                 Medical record –    Stipulated        Stipulated
23
        123      Harbor
24
     PRETRIAL ORDER - 18
     3:20-CV-5581-MJP
                                                                                          413 - 8th Street
                                                                                          Hoquiam, WA 98550
                                                  STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
              Case 3:20-cv-05581-MJP Document 42 Filed 12/01/21 Page 19 of 34




 1    Exh. No. Description            Authenticity      Admissibility Objection        Admitted

 2               Orthopedic
                 11/30/18 visit
 3               Medical record –     Stipulated        Stipulated
                 Jarod Mann
 4      124      report 8/12/21
                 Medical record –     Stipulated        Stipulated
 5               Jarod Mann
        125      report 12/3/18
 6               Medical Expense      Stipulated        Disputed       Relevancy,
        126      Summary
 7               Motorcycle bill      Stipulated        Stipulated
        127      of sale
 8               Motorcycle           Disputed          Disputed       Fed. R. Evid.
                 damage labeled                                        611(a),
 9                                                                     Relevance,
        128                                                            foundation
10               Photo on             Stipulated        Stipulated
        129      motorcycle trip 1
11               Photo on             Stipulated        Stipulated
        130      motorcycle trip 2
12               Murray               Stipulated        Stipulated
                 illustration of
13      131      point of impact
                 Payroll records –    Stipulated        Stipulated
14               Hoquiam School
        132      District
15               Payroll records –    Stipulated        Stipulated
                 Total Building
16               Concepts 10/18
        133      to 5/19
17
                 Payroll records –    Stipulated        Stipulated
                 Total Building
18
                 Concepts 9/18
        134      and 10/18
19
                 Photo – fingers in   Stipulated        Stipulated
        135      hospital 1
20
                 Photo –hand in       Stipulated        Stipulated
        136      hospital 2
21
                 Photo –hand in       Stipulated        Stipulated
22      137      hospital 3
                 Photo –hand in       Stipulated        Stipulated
23      138      hospital 4

24
     PRETRIAL ORDER - 19
     3:20-CV-5581-MJP
                                                                                           413 - 8th Street
                                                                                           Hoquiam, WA 98550
                                                   STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
              Case 3:20-cv-05581-MJP Document 42 Filed 12/01/21 Page 20 of 34




 1    Exh. No. Description            Authenticity      Admissibility Objection        Admitted

 2               Photo – in           Stipulated        Stipulated
        139      hospital bed 1
 3               Photo – in           Stipulated        Stipulated
        140      hospital bed 2
 4               Photo – in           Stipulated        Stipulated
        141      hospital bed 3
 5               Photo – preinjury    Stipulated        Stipulated
        142      hand
 6               Photo at Camp        Stipulated        Stipulated
        143      Muir 1
 7               Photo at Camp        Stipulated        Stipulated
        144      Muir 2
 8               Photo at Mt.         Stipulated        Stipulated
        145      Adams 1
 9               Photo at Mt.         Stipulated        Stipulated
        146      Adams 2
10               Photo at Mt.         Stipulated        Stipulated
        147      Elinor 1
11               Photo at Mt.         Stipulated        Stipulated
        148      Elinor 2
12               Photo at Mt.         Stipulated        Stipulated
        149      Rainier 1
13
                 Photo at Mt.         Stipulated        Stipulated
        150      Rainier 2
14
                 Photo at Mt.         Stipulated        Stipulated
        151      Shasta
15
                 Photo of both        Stipulated        Stipulated
                 hands dated
16
        152      11/21/18
17               Photo of clothing    Stipulated        Stipulated
        153      -- jacket
18               Photo of clothing    Stipulated        Stipulated
        154      -- pants
19               Photo of fingertip   Stipulated        Stipulated
        155      1
20               Photo of fingertip   Stipulated        Stipulated
        156      2
21               Photo of fingers     Stipulated        Stipulated
        157      dated 1/4/19
22               Photo of fingers     Stipulated        Stipulated
        158      dated 1/14/19
23               Photo of fingers     Stipulated        Stipulated
        159      dated 2/1/19
24
     PRETRIAL ORDER - 20
     3:20-CV-5581-MJP
                                                                                           413 - 8th Street
                                                                                           Hoquiam, WA 98550
                                                   STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
              Case 3:20-cv-05581-MJP Document 42 Filed 12/01/21 Page 21 of 34




 1    Exh. No. Description           Authenticity      Admissibility Objection        Admitted

 2               Photo of fingers    Stipulated        Stipulated
        160      dated 11/15/18
 3               Photo of fingers    Stipulated        Stipulated
                 dated 11/18/18
 4      161      (1)
                 Photo of fingers    Stipulated        Stipulated
 5               dated 11/18/18
        162      (2)
 6               Photo of fingers    Stipulated        Stipulated
                 dated 11/18/18
 7      163      (3)
                 Photo of fingers    Stipulated        Stipulated
 8      164      dated 11/21/18
                 Photo of fingers    Stipulated        Stipulated
 9      165      dated 12/2/18
        166      Photo of helmet 1   Stipulated        Stipulated
10      167      Photo of helmet 2   Stipulated        Stipulated
        168      Photo of helmet 3   Stipulated        Stipulated
11               Photo of John,      Stipulated        Disputed       Relevance
                 Emma and Jenny
12      169      Johnson
                 Photo of left-      Stipulated        Stipulated
13               hand brace dated
        170      12/3/18
14
                 Photo of middle     Stipulated        Stipulated
                 finger dated
15
        171      11/11/18
                 Photo of palm of    Stipulated        Stipulated
16
                 hand dated
        172      11/18/18 -- 1
17
                 Photo of palm of    Stipulated        Stipulated
                 hand dated
18
        173      11/18/18 -- 2
19               Photo of right      Stipulated        Stipulated
                 hand dated 1/4/19
20      174      -1
                 Photo of right      Stipulated        Stipulated
21               hand dated 1/4/19
        175      -- 2
22               Photo of right      Stipulated        Stipulated
                 hand dated
23      176      11/21/18 -- 1

24
     PRETRIAL ORDER - 21
     3:20-CV-5581-MJP
                                                                                          413 - 8th Street
                                                                                          Hoquiam, WA 98550
                                                  STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
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 1    Exh. No. Description           Authenticity      Admissibility Objection        Admitted

 2               Photo of right      Stipulated        Stipulated
                 hand dated
 3      177      11/21/18 -- 2
                 Photo of soccer     Stipulated        Disputed       Relevance
 4      178      team
                 Photo               Stipulated        Stipulated
 5               snowboarding at
        179      White Pass
 6               Photo with braces   Stipulated        Stipulated
        180      dated 11/21/18
 7               Police photo –      Stipulated        Stipulated
                 collision scene
 8      181      0001
                 Police photo –      Stipulated        Stipulated
 9               collision scene
        182      0002
10               Police photo –      Stipulated        Stipulated
                 collision scene
11      183      0003
                 Police photo –      Stipulated        Stipulated
12               collision scene
        184      0004
13               Police photo –      Stipulated        Stipulated
                 collision scene
14      185      0005
                 Police photo –      Stipulated        Stipulated
15               collision scene
        186      0006
16               Police photo –      Stipulated        Stipulated
                 collision scene
17      187      0007
                 Police photo –      Stipulated        Stipulated
18
                 collision scene
        188      0008
19
                 Police photo –      Stipulated        Stipulated
                 collision scene
20
        189      0009
                 Police photo –      Stipulated        Stipulated
21
                 collision scene
        190      0010
22
                 Police photo –      Stipulated        Stipulated
23               collision scene
        191      0011
24
     PRETRIAL ORDER - 22
     3:20-CV-5581-MJP
                                                                                          413 - 8th Street
                                                                                          Hoquiam, WA 98550
                                                  STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
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 1    Exh. No. Description         Authenticity      Admissibility Objection        Admitted

 2               Police photo –    Stipulated        Stipulated
                 collision scene
 3      192      0012
                 Police photo –    Stipulated        Stipulated
 4               collision scene
        193      0013
 5               Police photo –    Stipulated        Stipulated
                 collision scene
 6      194      0014
                 Police photo –    Stipulated        Stipulated
 7               collision scene
        195      0015
 8               Police photo –    Stipulated        Stipulated
                 collision scene
 9      196      0016
                 Police photo –    Stipulated        Stipulated
10               collision scene
        197      0017
11               Police photo –    Stipulated        Stipulated
                 collision scene
12      198      0018
                 Police photo –    Stipulated        Stipulated
13               collision scene
        199      0019
14               Police photo –    Stipulated        Stipulated
                 collision scene
15      200      0020
                 Police photo –    Stipulated        Stipulated
16               collision scene
        201      0021
17               Police photo –    Stipulated        Stipulated
                 collision scene
18      202      0022
                 Postal Service    Stipulated        Stipulated
19
                 accident report
        203      PS 1769
20
                 Postal Service    Stipulated        Stipulated
                 accident report
21
                 with Murray
                 Statement
22
        204      Standard Form
23

24
     PRETRIAL ORDER - 23
     3:20-CV-5581-MJP
                                                                                        413 - 8th Street
                                                                                        Hoquiam, WA 98550
                                                STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
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 1    Exh. No. Description          Authenticity      Admissibility Objection        Admitted

 2               Postal Service     Stipulated        Stipulated
                 Driving
 3      205      Guidelines 1
                 Postal Service     Stipulated        Stipulated
 4               Driving
        206      Guidelines 2
 5               Postal Service     Stipulated        Stipulated
                 Driving
 6      207      Regulations
                 Requests for       Stipulated        Stipulated
 7               Admission –
        208      medical expenses
 8               Summary of         Disputed          Disputed       Fed. R. Evid.
                 dates of medical                                    1006,
 9               treatment                                           Foundation,
                                                                     relevance,
10      209                                                          authenticity
                 Summary of time    Disputed          Disputed       Fed. R. Evid.
11               lost from work                                      1006,
                                                                     Foundation,
12                                                                   relevance,
        210                                                          authenticity
13               Summary of         Disputed          Disputed       Fed. R. Evid.
                 wage loss                                           1006,
14                                                                   Foundation,
                                                                     relevance,
15      211                                                          authenticity
                 Photo of turn      Disputed          Disputed       Fed. R. Evid.
16               bulb hot shock                                      611(a),
                                                                     Foundation,
17                                                                   Relevance,
        212                                                          authenticity
18               Video of the       Stipulated        Stipulated
        213      collision
19               Video of the       Stipulated        Stipulated
                 collision --
20      214      Combined
                 Video of Johnson   Stipulated        Stipulated
21               arriving at 7-
        215      Eleven
22
                 Video of Johnson   Stipulated        Stipulated
        216      getting gas
23

24
     PRETRIAL ORDER - 24
     3:20-CV-5581-MJP
                                                                                         413 - 8th Street
                                                                                         Hoquiam, WA 98550
                                                 STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
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 1    Exh. No. Description            Authenticity      Admissibility Objection        Admitted

 2               Video of Johnson     Stipulated        Stipulated
                 preparing to
 3      217      leave 7-Eleven
                 Video – laser        Stipulated        Disputed       Fed. R. Evid.
 4               scan of the                                           611(a),
        218      incident site                                         Relevance
 5               Video – laser        Stipulated        Disputed       Fed. R. Evid.
                 scan of the                                           611(a),
 6      219      Kawasaki                                              Relevance
                 Video – postal       Stipulated        Stipulated
 7      220      truck at 7-Eleven
                 Drone Video –        Stipulated        Disputed       Fed. R. Evid.
 8               security camera –                                     611(a),
        221      7-Eleven                                              relevance
 9               Video – site         Stipulated        Disputed       Fed. R. Evid.
                 approach                                              611(a),
10      222                                                            Relevance
                 Washington State     Stipulated        Stipulated
11               Driver Guide
                 Section 3 pages
12      223      23-25
                 CAD file –           Disputed          Disputed       Fed. R. Evid.
13               Three-                                                611(a),
                 dimensional                                           Foundation,
14               computer model                                        relevance,
                 of the incident
15               scene, including
                 the vehicles.
16               Includes laser
                 scan
17               measurements at
                 the crash site and
18               of the
                 motorcycle.
19      224
                 Illustration of a    Disputed          Disputed       Fed. R. Evid.
20               Jamar                                                 611(a),
                 Dynamometer                                           Foundation,
21      225                                                            relevance
                 Illustration of      Disputed          Disputed       Fed. R. Evid.
22               Pinch Testing                                         611(a),
                                                                       Foundation,
23      226                                                            relevance,
24
     PRETRIAL ORDER - 25
     3:20-CV-5581-MJP
                                                                                           413 - 8th Street
                                                                                           Hoquiam, WA 98550
                                                   STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
            Case 3:20-cv-05581-MJP Document 42 Filed 12/01/21 Page 26 of 34




 1    Exh. No. Description        Authenticity    Admissibility Objection        Admitted

 2

 3

 4

 5

 6

 7   Defendant’s Exhibits
 8    Exh. Description                Authenticity Admissibility Objection Admitted
      No.
 9
      300 USPS Completed Training for Stipulated   Stipulated
           Michael Murray (USAO 528)
10
      301 USPS Form 1700 (USAO 1-8) Stipulated     Disputed      Hearsay –
11
                                                                       FRE 802
12
      302   Murray Statement to Aberdeen Stipulated      Disputed      Hearsay –
13          PD (USAO 388)
                                                                       FRE 802
14
      303   Johnson     Statement     to   Stipulated    Stipulated
15          Aberdeen PD (USAO 389)
      304   F. Doe Statement to Aberdeen   Stipulated    Stipulated
16          PD (USAO 390)
      305   Aberdeen Fire Department       Stipulated    Stipulated
17          Note (USAO 743 – 746)
      306   Accident Scene Photos by       Stipulated    Stipulated
18          USPS (USAO 1094 – 1100)
      307   2-27-12    Lumbar     X-Ray    Stipulated    Disputed      FRE 402 -
19          (USAO 1207)
                                                                       -
20
                                                                       Relevance
21
                                                                       – subject
22

23

24
     PRETRIAL ORDER - 26
     3:20-CV-5581-MJP
                                                                                     413 - 8th Street
                                                                                     Hoquiam, WA 98550
                                             STRITMATTER KESSLER KOEHLER MOORE       Tel: 360-533-2710
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 1                                                                  of motion

 2                                                                  in limine

 3    308   5-10-12 Lumbar Block (USAO Stipulated     Disputed      FRE 402 -
            1208-1209)
 4                                                                  -

 5                                                                  Relevance

 6                                                                  – subject

 7                                                                  of motion

 8                                                                  in limine

 9    309   10-15-14 NW Center for Stipulated         Disputed      FRE 402 -
            Integrative Medicine Note
10          (USAO 1939)                                             -

11                                                                  Relevance

12                                                                  – subject

13                                                                  of motion

14                                                                  in limine

15    310   8-14-13 NW Center for Stipulated          Disputed      FRE 402 -
            Integrative Medicine Note
16          (USAO 1947-1948)                                        -

17                                                                  Relevance

18                                                                  – subject

19                                                                  of motion

20                                                                  in limine

21    311   4-1-15 Right   Toe   X-Ray Stipulated     Disputed      FRE 402 -
            (USAO 1212)
22                                                                  -

23                                                                  Relevance

24
     PRETRIAL ORDER - 27
     3:20-CV-5581-MJP
                                                                                413 - 8th Street
                                                                                Hoquiam, WA 98550
                                          STRITMATTER KESSLER KOEHLER MOORE     Tel: 360-533-2710
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 1                                                                    – subject

 2                                                                    of motion

 3                                                                    in limine

 4    312   4-4-16 Note from Dr. Tronvig Stipulated     Disputed      FRE 402 -
            (USAO 1302-1303)
 5                                                                    -

 6                                                                    Relevance

 7                                                                    – subject

 8                                                                    of motion

 9                                                                    in limine

10    313   7-26-16 Note from Dr. Tronvig Stipulated    Disputed      FRE 402 -
            (USAO 1318-1319)
11                                                                    -

12                                                                    Relevance

13                                                                    – subject

14                                                                    of motion

15                                                                    in limine

16    314   11-10-18 CT Scan of Pelvis    Stipulated    Stipulated
            (USAO 136-137)
17    315   11-10-18 Right Ankle X-Ray    Stipulated    Stipulated
            (USAO 870)
18    316   11-10-18 Right Wrist X-Ray    Stipulated    Stipulated
            (USAO 871)
19    317   11-10-18 Right Hand X-Ray     Stipulated    Stipulated
            (USAO 872)
20    318   11-13-18 ER Note (USAO 215    Stipulated    Stipulated
            – 218)
21    319   11-16-18 ER Note (USAO        Stipulated    Stipulated
            209-213)
22    320   11-26-2018 Kawasaki Note      Stipulated    Stipulated
            (USAO 854 – 858)
23    321   11-26-18 X-Ray Lumbar Spine   Stipulated    Stipulated
            (USAO 1219)
24
     PRETRIAL ORDER - 28
     3:20-CV-5581-MJP
                                                                                  413 - 8th Street
                                                                                  Hoquiam, WA 98550
                                            STRITMATTER KESSLER KOEHLER MOORE     Tel: 360-533-2710
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 1    322   Harbor Physical Therapy         Stipulated    Stipulated
            Lower      Extremity  Patient
 2          Outcome 1-23-2019 (USAO
            960 – 961)
 3    323   Harbor Physical Therapy 2-4-    Stipulated    Stipulated
            2019 Note (USAO 951 – 952)
 4    324   Harbor Physical Therapy 2-11-   Stipulated    Stipulated
            2019 Quick DASH (USAO
 5          1019)
      325   Harbor Physical Therapy 2-11-   Stipulated    Stipulated
 6          19 Note (USAO 946 – 947)
      326   Harbor Physical Therapy 2-13-   Stipulated    Stipulated
 7          2019 Note (USAO 944 – 945)
      327   Harbor Physical Therapy 2-27-   Stipulated    Stipulated
 8          2019 Note (USAO 938 – 941)
      328   Harbor Physical Therapy 3-4-    Stipulated    Stipulated
 9          2019 Note (USAO 934-935)
      329   Harbor Physical Therapy         Stipulated    Stipulated
10          Upper      Extremity  Patient
            Outcome (USAO 1026)
11    330   Harbor Physical Therapy 3-11-   Stipulated    Stipulated
            19 Initial Exam (USAO 1027 –
12          1029)
      331   Harbor Physical Therapy 4-10-   Stipulated    Stipulated
13          19 Note (USAO 1001 – 1002)
      332   Harbor Physical Therapy 4-15-   Stipulated    Stipulated
14          19 Note (USAO 999 – 1000)
      333   Harbor Physical Therapy 4-17-   Stipulated    Stipulated
15          2019 Note (USAO 996)
      334   Harbor Physical Therapy 4-22-   Stipulated    Stipulated
16
            19 Note (USAO 994 – 995)
      335   Harbor Physical Therapy 5-6-    Stipulated    Stipulated
17
            2019 Discharge Note (USAO
            984 - 986)
18
      336   Harbor Physical Therapy 5-6-    Stipulated    Stipulated
            19 Progress Note (USAO 988 –
19
            990)
20    337   Harbor Physical Therapy         Stipulated    Stipulated
            Quick DASH from 5-6-2019
21          USAO 987)
      338   Harbor Physical Therapy         Stipulated    Stipulated
22          Upper      Extremity  Patient
            Outcome 5-6-2019 (USAO
23          982 – 983)

24
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 1    339   3-21-2019 Right Knee MRI           Stipulated    Stipulated
            (USAO 875)
 2    340   Harbor Physical Therapy            Stipulated    Stipulated
            Upper     Extremity      Patient
 3          Outcome 3-25-19 (USAO
            1026)
 4    341   Olympia              Orthopedic    Stipulated    Stipulated
            Associates 4-5-2019 Note
 5          (USAO 784 – 787)
      342   Olympia              Orthopedic    Stipulated    Stipulated
 6          Associates     5-29-19     Note
            (USAO 1070 – 1072)
 7    343   Olympia              Orthopedic    Stipulated    Stipulated
            Associates Imaging 4-5-2019
 8          (USAO 1724)
      344   YouTube Video Entitled “02         Stipulated    Stipulated
 9          wrx tgv delete in garage getting
            subie ready for dyno day....stay
10          tuned.mp4”
      345   YouTube Video Entitled “#fly-      Stipulated    Disputed      FRE 402 -
11          by in 02 wrx stage2+ with
            catless downpipe, exhaust,                                     -
12          cobb 3port, sf intake, gfb
            hybrid bov.mp4”                                                Relevance
13
      346   YouTube Video Entitled “06         Stipulated    Stipulated
14          impreza 2.5I single head
            plaining                 #DIY
15          #headresurfacing
            #subaruheadgasketrepair.mp4”
16    347   YouTube      video     entitled    Stipulated    Stipulated
            “USAO_2007 AEM 340 fuel
17          pump install in my 02 wrx for
            1000cc cobb injectors.mp4”
18    348   YouTube      video     entitled    Stipulated    Stipulated
            “USAO_2008        April     21,
19          2020.mp4”
      349   YouTube      video     entitled    Stipulated    Stipulated
20          “USAO_2009 building custom
            carbonfiber flares plugs and
21          moldbuilding(1).mp4”
      351   YouTube      video     entitled    Stipulated    Stipulated
22          “USAO_2011 building molds
            for custom carbon fiber flares
23          for wrx(4).mp4”
24
     PRETRIAL ORDER - 30
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                                                                                       413 - 8th Street
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 1    352   YouTube        video    entitled   Stipulated    Stipulated
            “USAO_2012 building molds
 2          for custom carbon fiber flares
            for wrx(5).mp4”
 3    353   YouTube        video    entitled   Stipulated    Stipulated
            “USAO_2013 getting flanges
 4          glassed on the plug for the
            #flares...#bugeye.mp4”
 5    354   YouTube        video    entitled   Stipulated    Stipulated
            “USAO_2014              getting
 6          highbuild on plugs.mp4”
      355   YouTube        video    entitled   Stipulated    Stipulated
 7          “USAO_2015 laying molds
            onto      plugs    #subaruparts
 8          #customparts       #carbonfiber
            #builtnotbought.mp4”
 9    356   YouTube        video    entitled   Stipulated    Stipulated

10          “USAO_2016                paint

11          correction.mp4”

12    357   TBC Wage Records (USAO Stipulated                Stipulated

13          2017-2031)

14    358   Hoquiam      School     District Stipulated      Disputed     – Prior DUI

15          Records (USAO 2063-2154)                         pages   2114, is

16                                                           2115,   2116- addressed

17                                                           2117,   2140- in

18                                                           2148, 2160     Plaintiffs’

19                                                                          Motions

20                                                                          in Limine.

21                                                                          Medical

22                                                                          insurance

23                                                                          coverage

24
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 1                                                                            and

 2                                                                            shared

 3                                                                            leave are

 4                                                                            addressed

 5                                                                            in

 6                                                                            Plaintiffs’

 7                                                                            Motion in

 8                                                                            Limine re:

 9                                                                            Collateral

10                                                                            Source

11                                                                            Rule.

12    359   Jennifer Johnson’s Answers to Stipulated      Disputed       in

13          Interrogatories and Declaration               part:         (1)

14          of Jennifer Johnson                           Interrogatory

15                                                        6       regarding

16                                                        prior

17                                                        bankruptcy,

18                                                        which is the

19                                                        subject of a

20                                                        motion         in

21                                                        limine;

22

23

24
     PRETRIAL ORDER - 32
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 2

 3
                                         ACTION BY THE COURT
 4   (a)    This case is scheduled for trial without a jury on December 6, 2021, at 9:00 a.m.
 5   (b)    Trial briefs and findings of fact and conclusions of law shall be submitted to the court on
            or before November 26, 2021.
 6
     (c)    (Insert any other ruling made by the court at or before pretrial conference.)
 7
            This order has been approved by the parties as evidenced by the signatures of their counsel.
 8
     This order shall control the subsequent course of the action unless modified by a subsequent order.
 9
     This order shall not be amended except by order of the Court pursuant to agreement of the parties
10
     or to prevent manifest injustice.
11

12
            DATED this 1st day of December, 2021.
13

14

15                                                        A
                                                          Marsha J. Pechman
16                                                        United States Senior District Judge

17

18   FORM APPROVED

19   STRITMATTER KESSLER KOEHLER MOORE

20

21   Ray W. Kahler, WSBA #26171
     Co-Counsel for Plaintiffs
22

23
     PARKER, WINKELMAN & PARKER
24
     PRETRIAL ORDER - 33
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                                                                                                413 - 8th Street
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 1

 2   Benjamin R. Winkelman, WSBA #33539
     Co-Counsel for Plaintiffs
 3

 4

 5   NICHOLAS W. BROWN
     United States Attorney
 6

 7    /s/ Matt Waldrop
     MATT WALDROP, GA # 349571
 8   Assistant United States Attorney
     United States Attorney’s Office
 9   700 Stewart Street, Suite 5220
     Seattle, Washington 98101-1271
10   Phone: 206-553-7970
     Fax: 206-553-4067
11   Email: james.waldrop@usdoj.gov

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24
     PRETRIAL ORDER - 34
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                                                                              413 - 8th Street
                                                                              Hoquiam, WA 98550
                                          STRITMATTER KESSLER KOEHLER MOORE   Tel: 360-533-2710
